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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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MUHAN CUL,
COMPLAINT
Plaintiff,
CIVIL ACTION NO.
19 Civ.
-against-
RICHARD XIA, EMMCO NOMC, L.P. and
FLEET NEW YORK METROPOLITAN
REGIONAL CENTER LLC, JURY TRIAL DEMANDED
Defendants,
- ee x

Plaintiff, Muhan Cui, by his attorneys, Moss & Kalish, PLLC,

complaining of the defendants, alleges as follows:
Nature of Action

1. This lawsuit arises out of fraudulent conduct by defendants
in inducing plaintiff to invest at least $550,000, into a business
pursuant to the United States EB-5 Immigrant Investor Program with
the promise of obtaining an immigration visa for himself. Plaintiff
brings this claim for, inter alia, breach of contract and fraud
and seeks money damages and rescission with respect to his
investment.

Parties

2. Plaintiff, Muhan Cui (*Cui”) is a natural person residing
in the State of New Jersey, County of Bergen and the Borough of
Edgewater. Cui is a citizen of the People’s Republic of China and

a lawful permanent resident of the United States.
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3. Upon information and belief, defendant, Richard Xia
(*Xia”) is a natural person residing in the State of New York.

4. Upon information and belief, defendant, Fleet New York
Metropolitan Regional Center LLC is a limited liability company
duly organized and existing under the laws of the State of New
York, with a principal place of business in the State of New York,
County of Queens.

5. Upon further information and belief, until on or around
August 20, 2015, Fleet New York Metropolitan Regional Center LLC
was known as Federal New York Metropolitan Regional Center LLC
(Fleet New York Metropolitan Regional Center LLC and Federal New
York Metropolitan Regional Center LLC are referred to herein
collectively as *“New York Metro”).

6. Upon information and belief, EMMCO NOMC, L.P. (*EMMCO”),
is a limited partnership duly organized and existing under the
laws of the State of New York, with a principal place of business
in the State of New York, County of Queens. Upon information and
belief, EMMCO NQMC is listed on the website of the Secretary of
State of the State of New York as “inactive.”

7. Upon information and belief, Xia is the President of Fleet
Financial Group, Inc. (“Fleet”). Upon further information and
belief, Fleet is engaged in the business of real estate

development.
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8. Upon information and belief, New York Metro and Fleet share
offices at 136-20 38t® Avenue Ste. 10-F, Flushing, New York 11354.
Upon further information and belief, EMMCO has offices in Flushing,
New York.

Jurisdiction and Venue

9, This Court has subject matter jurisdiction over this action
pursuant to: a) 28 U.S.C. §1332(a) (2) as the matter in controversy
exceeds the sum or value of $75,000, exclusive of interest and
costs, and is between citizens of a State and a citizen or subject
of a foreign state (and is not between citizens of a State and
citizens of a foreign state who are lawfully admitted for permanent
residence in the United States and are domiciled in the same
State); and b) 28 U.S.C. 1331, as it arises under the federal
securities laws and has supplemental jurisdiction over plaintiff's
state law claims because they form part of the same case or
controversy as the federal law claims.

10. Venue is proper with respect to this action in the Fastern
District of New York pursuant to 28 U.S.C. §1391(b) (1).

Factual Background

11. Congress created the EB-5 program in 1990 to stimulate
the United States economy through job creation and capital
investment by foreign investors (*EB” stands for “Employment
Based”). In 1992, Congress created the Immigrant Investor Program,

also known as the “Regional Center Program.” This sets aside EB-5
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visas for participants who invest in commercial enterprises
associated with reginal centers approved by the United State
Customs and Immigration Service (“USCIS”) based on proposals for
promoting economic growth. In order to qualify for an EB-5 visa,
a foreign applicant must invest $500,000 or $1 million (depending
on the type of investment) in a commercial enterprise approved by
USCIS. Once the foreign applicant has made the investment, he or
she may apply for conditional permanent resident status {a/k/a
temporary green card or conditional green card}, which is good for
two years. If the investment creates or preserves at least ten
jobs during those two years, the foreign applicant may apply to
have the conditions removed from his or her green card. The
applicant can then live and work in the U.S. permanently.

12. Cui is a native of the People’s Republic of China.

13. Plaintiff developed an interest in obtaining
authorization to live and work in the United States on a permanent
basis in the United States. This authorization is commonly known
as a green card.

14. In1992, Congress created the Immigrant Investor Program,
also known as the Regional Center Program. The Regional Center
Program sets aside EB-5 visas for participants who invest in
commercial enterprises associated with regional centers approved
by the United States Customs and Immigration Service (*USCIS”)

based on proposals for promoting economic growth. In other words,
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the investments are typically administered by regional centers
throughout the United States. The investments are typically made
in limited partnerships or limited liability companies whose
investments satisfy certain criteria and result in the creation or
preservation of United States jobs. To qualify for the program,
the foreign investors must invest $1 million ($500,000 if ina
rural area or area of high unemployment) and thereby create at
least ten full-time jobs for United States workers.

15. In or around September, 2010, New York Metro was duly
authorized by USCIS as a regional center. Consequently, investors
in a commercial enterprise associated with New York Metro may be
eligible for an EB-5 visa and, ultimately, a temporary green card
and a permanent green card.

16. Upon information and belief, New York Metro formed EMMCO,
or had EMMCO formed, in or around December, 2010 pursuant to the
New York Revised Limited Partnership Act by filing a Certificate
of Limited Partnership with the New York Secretary of State.

17. Upon information and belief, New York Metro is the
managing general partner of EMMCO and the only general partner of
EMMCO.

18. Xia is the President and Chief Executive Officer of New

York Metro.
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19. As the President of New York Metro, which is in turn the
managing general partner of FEMMCO, Xia controls the affairs of
EMMCO.

20. The private placement memorandum of EMMCO (the *“PPM”}
provides, at pages (i)-(iii) and 1-6 thereof, that EMMCO was
formed to finance a portion of a real estate development project
known as the “Eastern Mirage Project” (the ‘*Project”) through a
loan to a real estate firm associated with New York Metro, namely
Fleet Financial.

21. The Project is a mixed-use real estate development in
Flushing, Queens that is intended to include medical office,
hospitality, conference, spa and fitness, dining and residential
uses.

22. EMMCO was to lend money to finance approximately 50% of
the costs of Phase II of the Project, involving completion of the
North Queens Medical Center. The North Queens Medical Center is
intended to offer over 100,000 square feet of Class-A office space
to health care providers.

23. The amount to be financed by EB-5 Immigrant Investor
Capital was between $500,000 and $11,000,000, depending on the
number of limited partnership interest, i.e. “Units”, sold with

respect to the Project to EB-5 investors.
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24. In other words, capital to finance Phase IT of the Project
the Hotel Project would be raised from EB-5 investors, all of whom
would be foreign investors.

25. The EB-5 investors would in turn acquire Units in EMMCO,
with each such Unit intended to be a Qualifying Investment under
the EB-5 program.

26. Upon information and belief, and pursuant to page (ii) of
the PPM for the Project, the maximum number of Units that can be
sold with respect to the Project is 22, at a per unit price of
$500,000, for a total amount of capital contributions from limited
partners of $11,000,000 (plus a per Unit processing fee of
$50,000).

27. In connection with undertaking the following, plaintiff
ultimately became a limited partner in EMMCO:

(1) completing and executing, in or around April 15, 2011, a
subscription agreement and investor questionnaire;

(Li) executing, in or around April 15, 2011, a signature page
to the limited partnership agreement of EMMCO (the “EMMCO
agreement”);

(iii) making a capital investment in EFMMCO in the amount of
$500,000, along with a “processing fee” in the amount of $50,000
which, according to page (iii) of the PPM, was “intended to be
used for expenses incurred in preparation and marketing of this

Offering.”
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28. On or around April 15, 2011, plaintiff duly paid the
$550,000 to EMMCO by wire transfer to East West Bank, N.A.

29. In addition to receiving a green card for himself, Cui
intended to receive a reasonable return on his investment in the
Project.

30. The PPM provided that the loan from EMMCO to Fleet would
mature in five years from the date of the first advance thereunder.

31. The PPM further provided that the “Borrower”, l.e. Fleet,
intended to repay the loan at maturity with the proceeds of long-
term financing or from other sources.

32, Pursuant to the PPM, net proceeds (if any) realized from
the distribution of profit realized from the investment, sale,
exchange or other disposition of the business of EMMCO was to be
allocated 100% to the limited partners, up to the amount of their
original capital contribution.

33. Thereafter, profits would be distributed 99% to New York
Metro, and 1% to the limited partners of FMMCO.

34. Interest income from any investment by EMMCO would be
distributed 99% to New York Metro and 1% to the limited partners
of EMMCO.

35. The PPM states, at page 2 thereof, that the “Partnership”
[i.e. EMMCO] anticipates that the North Queens Medical Center will
be completed and be generating income and creating jobs by the

third or fourth quarter of 2013.
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36. To date, fully five years after the fourth quarter of
2013, the North Queens Medical Center has not opened.

37. Plaintiff has received no distributions from EMMCO.

38. Since becoming a limited partner of EMMCO, plaintiff has
received no information from defendants with respect to the
progress, or lack thereof, of the Project, including tenants,
estimated completion dates, financing or refinancing of the
Project and the market for the Project.

39. Plaintiff has received no accounting of the financial
results of EMMCO.

40. Plaintiff has made numerous requests to defendants to
withdraw from EMMCO and for the return of his investment, to wit
the $500,000 that he paid for a unit in EMMCO.

Al. Notwithstanding plaintiff’s repeated requests for the
return of his partnership investment, defendants have ignored his
request and have refused to return plaintiff’s partnership
investment.

AS AND FOR A FIRST CAUSE OF ACTION

42. Plaintiff repeats and realleges paragraphs 1 through 41
hereof as if more fully set forth herein.

43. To date, Cui has received no return on his investment in
EMMCO.

44. Defendants have refused to return plaintiff's investment

to him.
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45. Defendants represented to plaintiff that the loan from
EMMCO to Fleet would mature in five years from the date of the
first advance thereunder and would be refinanced, that the North
Queens Medical Center would be completed and be generating income
and creating jobs by the third or fourth quarter of 2013 and that
profits and interest income would be distributed to the limited
partners.

46. Defendants made the foregoing representations with
knowledge of their falsity or with reckless disregard as to their
falsity.

47, The foregoing representations were material with respect
to plaintiff’s decision to invest in EMMCO.

48. Plaintiff reasonably relied upon the foregoing
representations to his detriment.

49. By virtue of the foregoing, plaintiff has been damaged in
an amount to be determined at trial, but in no event less than
$550,000.

AS AND FOR A SECOND CAUSE OF ACTION

50. Plaintiff repeats and realleges paragraphs one through 49
hereof as if more fully set forth herein.

51. As the President of the general partner of EMMCO, Xia had
a fiduciary obligation to deal honestly, fairly, equitably and in

good faith toward Cao.

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52. As general partner of EMMCO, New York Metro had a
fiduciary obligation to deal honestly, fairly, equitably and in
good faith toward Cui.

53. To date, fully five years after the fourth quarter of
2013, the North Queens Medical Center has not opened.

54, Plaintiff has received ne distributions from EMMCO.

55. Since becoming a limited partner of EMMCO, plaintiff has
received no information from defendants with respect to the
progress, or lack thereof, of the Project, including tenants,
estimated completion dates, financing or refinancing of the
Project and the market for the Project.

56. Plaintiff has received no accounting of the financial
results of EMMCO,

57. Defendants represented to plaintiff that the loan from
EMMCO to Fleet would mature in five years from the date of the
first advance thereunder and would be refinanced, that North Queens
Medical Center will be completed and be generating income and
creating jobs by the third or fourth quarter of 2013 and that
profits and interest income would be distributed to the limited
partners.

58. Notwithstanding plaintiff’s repeated requests for the
return of his partnership investment, defendants have ignored his
request and have refused to return plaintiff’s partnership

investment.

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59. By reason of the foregoing, defendants breached their
fiduciary duty to plaintiff.

60. By reason of the foregoing, plaintiff has suffered damages
in an amount to be determined at trial, but in no event less than
$550,000.

AS AND FOR A THIRD CAUSE OF ACTION

61, Plaintiff repeats and realleges paragraphs 1 through 60
hereof as if more fully set forth herein.

62. By reason of the foregoing, the Court should grant
rescission of the subscription agreement and the EMMCO agreement
with respect to plaintiff’s interest therein.

AS AND FOR A FOURTH CAUSE OF ACTION

63. Plaintiff repeats and realleges paragraphs 1 through 62
hereof as if more fully set forth herein.

64, Xia executed the EMMCO agreement as “Original Partner.”

65. New York Metro executed the limited partnership agreement
as the “General Partner.”

66. Plaintiff performed under the limited partnership
agreement .

67. By reason of the foregoing, defendants breached the EMMCO
agreement.

68. By reason of the foregoing, plaintiff has been damaged in
an amount to be determined at trial, but in no event less than

$550,000.

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AS AND FOR A FIFTH CAUSE OF ACTION

 

69. Plaintiff repeats and realleges paragraphs 1 through 68
as if more fully set forth herein.

70. Xia executed the limited partnership agreement as
“Original Partner.”

71. New York Metro executed the limited partnership agreement
as the “General Partner."

72. The EMMCO agreement provides, in part, that it “shall be
governed by and construed in accordance with the internal
substantive laws of the State of New York ...”

73. Implicit in every contract governed by the substantive
laws of the State of New York is an implied covenant of good faith
and fair dealing.

74. Defendants have provided no distributions or returns to
plaintiff with respect to this investment.

75. Fully five years after the fourth quarter of 2013, the
North Queens Medical Center has not opened.

76. Defendants have refused to provide any information to
plaintiff with respect to the business, financial and other
operations of EMMCO.

77. Defendants have acted in such a manner as to deprive
plaintiff of the right to receive benefits under the EMMCO

agreement, namely a return on his investment.

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78. By reason of the foregoing, plaintiff has been damaged in
an amount to be determined at trial, but in no event less than
$550,000.

AS AND FOR A SIXTH CAUSE OF ACTION

79. Plaintiff repeats and realleges paragraphs 1 through 78
hereof as if more fully set forth herein.

80. Page 1 of the Private Placement Memorandum contains the
language “THE SECURITIES OFFERED HEREBY” and thereby refers to the
limited partnership interests as “Securities.”

81. Defendants, and each of them, by engaging in the conduct
described above, directly or indirectly, in the offer or sale of
securities by the use of means or instruments of transportation or
communication in interstate commerce or by use of the mails:

{i) with scienter, employed devices, schemes, or artifices to
defraud;

(ii) obtained money or property by means of untrue statements
of a material fact or by omitting to state a material fact
necessary in order to make the statements made, in light of the
circumstances under which they were made, not misleading; or

(111) engaged in transactions, practices, or courses of
business which operated or would operate as a fraud or deceit upon

the purchaser.

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82. By engaging in the conduct described above, defendants
violated Section 17(a) of the Securities Act of 1933, 15 U.S.C.
87 7q(a).

83. By reason of the foregoing, plaintiff has been damaged in
an amount to be determined at trial, but in no event less than
$550,000.

AS AND FOR A SEVENTH CAUSE OF ACTION

84. Plaintiff repeats and realleges paragraphs 1 through 83
hereof as if more fully set forth herein.

85. Defendants, and each of them, by engaging in the conduct
described above, directly or indirectly, in connection with the
purchase or sale of a security, by the use of means or instruments
of interstate commerce or by use of the mails, with scienter:

(i) employed devices, schemes, or artifices to defraud;

(li) made untrue statements of a material fact or omitted to
state a material fact necessary in order to make the statements
made, in light of the circumstances under which they were made,
not misleading; or

(iii) engaged in acts, practices, or courses of business which
operated or would operate as a fraud or deceit upon other persons.

86. By engaging in the conduct described above, defendants
violated Section 10(b) of the Securities Act of 1933, 15 U.S.C.

783(b), and Rule 10b-5 thereunder, 17 C.F.R. §240.10b-5.

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87. By reason of the foregoing, plaintiff has been damaged in
an amount to be determined at trial, but in no event less than
$550,000.

AS AND FOR AN EIGHTH CAUSE OF ACTION

88. Plaintiff repeats and realleges paragraphs 1 through 87
hereof as if more fully set forth herein.

89. As General Partner of EMMCO and pursuant to the terms of
the limited partnership agreement, the New York Partnership Law
and any applicable common law, New York Metro owes a fiduciary
duty to plaintiff.

90. Plaintiff has requested true and accurate information
regarding the business and financial affairs of EMMCO and the value
of his membership interest.

91. Defendants have refused to provide such information.

92, Plaintiff has no adequate remedy at law.

93. Plaintiff is entitled to an accounting to determine the
value of his membership interest, the propriety of distributions
made or not made to defendants, the existence of self-dealing, the
propriety of payments made by EMMCO and New York Metro to Xia
and/or other entities controlled by or affiliated with Xia and the
accuracy of EMMCO’s financial statements.

WHEREFORE, plaintiff Muhan Cui demands judgment as follows:

A. On the first cause of action, against defendants Richard

Xia, EMMCO NOMC, L.P. and Fleet New York Metropolitan Regional

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Center LLC, jointly and severally, damages in an amount to be
determined at trial, but in no event less than $550,000;

B. On the second cause of action, against defendants Richard
Xia, EMMCO NQMC, L.P. and Fleet New York Metropolitan Regional
Center LLC, jointly and severally, damages in an amount to be
determined at trial, but in no event less than $550,000;

Cc, On the third cause of action, against defendants Richard
Xia, EMMCO NQMC, L.P. and Fleet New York Metropolitan Regional
Center LLC, granting rescission of the subscription agreement and
limited partnership agreement with respect to plaintiff's interest
therein.

D. On the fourth cause of action, against defendants Richard
Xia, EMMCO NOMC, L.P. and Fleet New York Metropolitan Regional
Center LLC, jointly and severally, damages in an amount to be
determined at trial, but in no event less than $550,000;

E. On the fifth cause of action, against defendants Richard
Xia, EMMCO NQMC, L.P. and Fleet New York Metropolitan Regional
Center LLC, jointly and severally, damages in an amount to be
determined at trial, but in no event less than $550,000;

F. On the sixth cause of action, against defendants Richard
Xia, EMMCO NQMC, L.P. and Fleet New York Metropolitan Regional
Center LLC, jointly and severally, damages in an amount to be

determined at trial, but in no event less than $550,000;

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G. On the seventh cause of action, against defendants Richard
Xia, EMMCO NQMC, L.P. and Fleet New York Metropolitan Regional
Center LLC, jointly and severally, damages in an amount to be
determined at trial, but in no event less than $550,000;

H. On the eighth cause of action, against defendants Richard
Xia, EMMCO NOMC, L.P. and Fleet New York Metropolitan Regional
Center LLC, judgment ordering an immediate accounting and judgment
against all defendants in an amount to be determined at such
accounting;

I. Interest, costs and disbursements of this action;

J. Legal fees; and

K. Such other and further relief as the Court shall deem just
and proper.

Dated: New York, New York
January 31, 2019

Yours, etc.,

MOSS & KALISH, PLLC

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David B. Gelfarb
Gelfarb@mosskalish.com
Attorneys for Plaintiff

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New York, New York 10168
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JURY DEMAND

Plaintiff demands trial by jury of all claims triable by
jury.

Dated: New York, New York

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January 31,

2019

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Yours, etc.,

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